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UNITED sTATEs oF AMERICA '" OF'N.MLWMLQ

Plaintiff,

er.m;i.nal NO.M- Qggczf§D/Il

(30-Day Continuance)

V.

LVCYSG<//R U;f;>é 575

 

 

 

 

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Defendant(s).

 

CONSENT ORDER ON CRIMINAL CASE CONTINUANCE
AND EXCLUSION OF TIME

 

As indicated. by' the signatures below, the United States,
through its Assistant United States Attorney, and counsel for the
defendant(s) have agreed that, for good cause, this case should be
continued for reasons resulting in the exclusion of time under the
Speedy Trial Act. The ease is currently set on the May, 2005,
criminal rotation calendar, but is now RESET for report at §igg
a.m. on Fridav, MaV 27, 2005, With trial to take place on the June,
2005 rotation calendar with the time excluded under the Speedy
Trial Act through June 17, 2005. Agreed in open court at report

date this 22nci day of April, 2005.

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SO ORDERED this 22m'day Of April, 2005.

mi (KQ,Q

PHIPPS MCCALLA
UN TED STATES DISTRICT JUDGE

 

§§L ,%»€\V

Assistant United States Attorney

 

 

 

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`bounsef fof Défendant(s)

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 69 in
case 2:04-CR-20228 Was distributed by faX, mail, or direct printing on
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167 N. Main St.

Ste. 800

i\/lemphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

